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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
KEVIN GREGORY JOHNSON,
Plaintiff, CASE NO. C01-1277Z
Vv. ORDER DECLINING TO SERVE
COMPLAINT AND GRANTING
KING COUNTY SUPERIOR COURT, et al., LEAVE TO AMEND
Defendants.

 

Plaintiff, proceeding pro se and in forma pauperis, has filed a civil rights action pursuant to 42

 

U.S.C. § 1983. The Court, having reviewed the complaint and record, does hereby find and ORDER
that the complaint is defective for the following reasons:

(1) Plaintiff has improperly answered the first question on the court’s complaint form, regarding
other lawsuits filed in federal court while a prisoner. While plaintiff states that he has filed none, the
clerk’s records indicate that he has filed two previous lawsuits in this court, designated as CO00-19192,
and C01-563P. Both were dismissed when plaintiff failed to correct deficiencies in the in forma
pauperis applications. Nevertheless, plaintiffs statement that he has filed no previous lawsuits is
incorrect.

(2) As to the complaint itself, in order to state a cause of action under 42 U.S.C. § 1983, a

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plaintiff must allege that (a) the defendant acted under color of state law, and (b) the defendant’s conduct
deprived plaintiff of a constitutional right. Balistreri v. Pacifica Police Department, 901 F. 2d 696, 699
(9" Cir. 1988). In addition, the plaintiff must allege facts showing how each named defendant caused or
personally participated in causing the harm alleged. Amold v. IBM, 637 F. 2d 1350, 1355 (9" Cir.
1981). A suit brought pursuant to § 1983 cannot be based on vicarious liability alone, but must allege
that each defendant’s own conduct violated the plaintiff's civil rights. City of Canton v. Harris, 489 U.S.
378, 385-90 (1989). A plaintiff may not hold supervisory personnel liable under 42 U.S.C. § 1983 for
constitutional deprivations under a theory of respondeat superior. Taylor v. List, 880 F. 2d 1040, 1045
(9" Cir. 1989). As to police departments, counties, and other agencies or state or local government, a
governmental unit or municipality can be sued as a “person” under § 1983 only where the complaint
alleges that “action pursuant to official municipal policy of some nation cause[d] a constitutional tort.”
Monell v. Department of Social Services, 436 U.S. 658, 691 (1978). The governmental entity “may not
be held vicariously liable for the unconstitutional acts of its employees under the theory of respondeat
superior.” Id. at 694.

(3) Pursuant to the statutes governing in forma pauperis proceedings, the court shall screen civil
rights complaints and shall dismiss a complaint or any claims therein, which is frivolous, which fails to
state a claim upon which relief may be granted, or which seeks monetary relief from a defendant who is
immune from such relief. 28 U.S.C. § 1915(e)(2); 28 U.S.C. § 1915A. As set forth below, most of
plaintiff's complaint falls within this mandate.

(4) In his sixty-six page complaint, plaintiff alleges a broad range of constitutional violations,
together with state law claims such as unlawful imprisonment, false arrest, official misconduct, and
prosecutorial vindictiveness. The named defendants are the State of Washington; the Washington
Supreme Court; King County Prosecutor Norm Maleng; Governor Gary Locke; King County Superior
Court; Superior Court Judges Donald Haley, Brian Gain, Michael Spearman, Ronald Kessler, Jeffrey
Ramsdell, Suzanne Barnett, and Helen Halpert; Deputy Prosecuting Attorney Catherine McDowell; King
County Adult Correctional Facility; Corrections Officers Boehme, Folk, Bonilla, Hutt, Brinson,
Nazzario, Lafala, and Green; City of Seattle Police Department; City of Des Moines Police Department;

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City of SeaTac Police Department; Deputy Sheriffs Mike Gillis and “Tansley”; Seattle Police Chief
Kerlikowski; Officers Thomas, Jokela, Marlowe, Creamer, McGinnis, Toner, Pit, Diaz, Krueger,
Wilkeson, Settle and Kramer of the Seattle Police Department; three “unknown” officers of the Des
Moines Police Department; Officers Pavovich, Starett, Myers, Parks, and Fry of the SeaTac Police
Department; and “any other John or Jane Doe who may be responsible for the rights violations contained
herein.” The claims arise from plaintiff's arrest and incarceration on various occasions,

(5) The State of Washington is not a “person” within the meaning of § 1983, and furthermore is
immune from this suit under the Eleventh Amendment. Nor is either the Washington Supreme Court or
King County Superior Court a “person” amenable to suit. Defendants Governor Gary Locke, Norm
Maleng, and Chief of Police Kerlikowski have al] been named under a theory of respondeat superior,
which does not extend to suits under § 1983. The named police departments are not entities which may
be sued under § 1983; if the complaint is construed as naming the cities themselves, it fails to make the
requisite allegations under Monell. See, Meritt v. County of Los Angeles, 875 F. 2d 765, 770 (9" Cir.
1989). The judges and prosecutor are absolutely immune from fiability for damages under § 1983.
Although this immunity does not extend to requests for injunctive or declaratory relief, plaintiff's
requests of that nature are vague and not properly addressed to these defendants."

(6) To the extent that plaintiff requests monetary damages for his arrest or incarceration, his
claims are barred by Heck vy. Humphrey, 512 U.S. 477 (1994), in which the United States Supreme
Court stated that

in order to recover damages for allegedly unconstitutional convictions or imprisonment,
or for other harm caused by actions whose unlawfulness would render a conviction or
sentence invalid, a §1983 plaintiff must prove that the conviction or sentence has been
reversed on direct appeal, expunged by executive order, declared invalid by a state
tribunal authorized to make such determination, or called into question by a federal
court's issuance of a writ of habeas corpus. A claim for damages bearing that relationship

 

In addition to monetary damages, plaintiff asks the court to “order State of Washington to revise
statutes and procedures and Rules of Court to conform to federal mandates”; to “order State of
Washington to review all criminal cases for aforementioned violations”; to “issue an order that requires
the termination, impeachment proceeding or re-training of all defendants in constitutional law, racial
diversity, passive resistance and the rule of federal procedures”; to “order all criminal records of plaintiff
seal[ed], destroyed and/or poisoned and in any event bar[red] from any future use . . .”; and to grant
other similar relief. Complaint at p. 4, 62-65.

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to a conviction or sentence that has not been so invalidated is not cognizable under
§1983,

.... We do not engraft an exhaustion requirement upon §1983, but rather deny the

existence of a cause of action. Even a prisoner who has fully exhausted available state

remedies has no cause of action under §1983 unless and until the conviction or sentence

is reversed, expunged, invalidated, or impugned by the grant of a writ of habeas corpus.

That makes it unnecessary for us to address the statute of limitations issue wrestled with

by the court of appeals.

Heck, 512 U.S. at 486-87. Thus, when a state prisoner seeks damages in a $1983 suit, the district court
must determine whether a judgment in the plaintiff's favor would necessarily imply that his conviction
was invalid. If so, the complaint must be dismissed unless the plaintiff can demonstrate that the
sentence has already been invalidated as described above. Id. Plaintiff has not so demonstrated.
Therefore, under Heck, his §1983 cause of action has not yet accrued.

(7) Plaintiff's claims against individual corrections officers, arising from conditions of
confinement, may be cognizable in a § 1983 suit, but only after such administrative remedies as are
available have been exhausted. 42 U.S.C. § 1997e. Although plaintiff asserts that he did complete the
grievance process on all his claims, his statement that “there was no written response” to any of his
grievances contradicts his assertion. His statement is insufficient to fulfill the requirement of § 1997e
with respect to his claims regarding conditions of confinement at the King County Adult Correctional
Facility.

(8) Accordingly, the Court declines to order that the complaint be served on defendants.
Plaintiff may file an amended complaint conforming to the requirements of Fed. R. Civ. Proc. 8{a). It
shal] set forth in clear and concise fashion the defendants to be sued, and the specific claims against each
individual defendant. The court shall summarily dismiss any defendant who is immune from suit, or
otherwise not liable under the principles set forth above, together with any claims that fall under §
1915(e), § 1915A, or 42 U.S.C. § 1997e. The amended complaint must be filed within thirty (30) days
of the date of this Order, and must contain the same case number as this one. Sufficient copies must be

provided for service on each of the named defendants. Should an amended complaint not be timely

filed, or should it not conform to the requirements set forth here, the action will be dismissed.

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(9) The Clerk is directed to send plaintiff a copy of this Order and the appropriate §1983 forms

so that he may file an amended complaint.

DATED this , day of September 2001.

 

 

RICARDO S°MARTINEZ
United States Magistrate Jidge

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